               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:06cr165-8


UNITED STATES OF AMERICA,                        )
                                                 )
Vs.                                              )             ORDER
                                                 )
MICHAEL SCOTT HENSLEY,                           )
                                                 )
                 Defendant.                      )
__________________________________               )


        THIS MATTER coming on to be heard and being heard before the undersigned,

upon a motion made by defendant’s counsel to continue the hearing of the motion made by

the defendant requesting that the court set terms and conditions of pretrial release and it

appearing to the court upon the Motion to Continue that good cause has been shown for the

granting of said motion.

                                        ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Continue filed by the defendant

is hereby ALLOWED and that this matter is set for hearing for October 16, 2006 at 10:30

a.m.

                                            Signed: October 24, 2006




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